Case: 24-10563-KB Doc #: 45 Filed: 03/07/25 Desc: Main Document               Page 1 of 1




                      UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF NEW HAMPSHIRE

In re:

Tricia L Hicks,                                    Case No. 24-10563-KB
                                                   Chapter 13
            Debtor.

                                         ORDER




Confirmation of the Chapter 13 Plan dated August 19, 2024 Filed by Debtor Tricia L Hicks
[ECF No.5] is denied for the reasons stated on the record.




Date: 03/07/2025                          /s/ Kimberly Bacher
                                          Kimberly Bacher
                                          Chief Bankruptcy Judge
